                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:09-cr-66
 vs.                                                )
                                                    )       JUDGE MATTICE
 CASSIE TAYLOR                                      )



                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on May 14, 2012, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Sladjuana Hays and
 the Warrant for Arrest issued by U.S. District Judge Harry S. Mattice, Jr. Those present for the
 hearing included:

               (1) AUSA Terra Bay for the USA.
               (2) Defendant CASSIE TAYLOR.
               (3) Attorney Giles Jones for defendant.
               (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of her
 privilege against self-incrimination accorded her under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and she
 qualified for the appointment of an attorney to represent her at government expense. Atty.
 Giles Jones was APPOINTED to represent the defendant. It was determined the defendant had
 been provided with a copy of the Petition and the Warrant for Arrest and had the opportunity of
 reviewing those documents with her attorney. It was also determined the defendant was
 capable of being able to read and understand the copy of the aforesaid documents she had been
 provided.

        AUSA Bay called USPO Sladjuana Hays as a witness and moved that the defendant be
 detained pending a hearing to determine whether her term of supervision should be revoked.

                                            Findings

        (1) Based upon USPO Hays= testimony, the undersigned finds there is probable
            cause to believe defendant has committed violations of her conditions of
            supervised release as alleged or set forth in the Petition.

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       (2) The defendant has not carried her burden under Rule 32.1(a)(c) of the Federal
           Rules of Criminal Procedure, that if released on bail she will not flee or will
           not pose a danger to the community or herself.

                                          Conclusions

       It is ORDERED:

       (1) The motion of AUSA Bay that defendant be DETAINED WITHOUT BAIL
       pending her revocation hearing before Judge Mattice is GRANTED.

       (2) The U.S. Marshal shall transport defendant to a revocation hearing before
       Judge Mattice on Tuesday, May 29, 2012, at 9:00 am.

       ENTER.

                                            SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                            UNITED STATES MAGISTRATE JUDGE




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